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                     Exhibit A
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                                          Arkansas Judiciary


    Case Title:              ALI ETAL V SHELTER MUTUAL INSURANCE
                             COMPANY
    Case Number:             04CV-19-2802

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                                                       So Ordered




                                                       Tani Ross



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              IN THE CIRCUIT COURT OF BENTON COUNTY, ARKANSAS
                                CIVIL DIVISION

SAYED ALI and All Others
Similarly Situated                                                                   PLAINTIFF

v.                                   CASE NO. 04 CV-2019-2802

SHELTER MUTUAL
INSURANCE COMPANY                                                                  DEFENDANT


 DEFENDANT SHELTER MUTUAL INSURANCE COMPANY’S MOTION TO DISMISS
               FOR INSUFFICIENT SERVICE OF PROCESS

        Comes now Defendant, Shelter Mutual Insurance Company (“Defendant” or the

“Company”), by and through its attorneys, Friday, Eldredge & Clark, LLP, with its Motion to

Dismiss for Insufficient Service of Process Pursuant to Arkansas Rule of Civil Procedure (“ARCP”)

12(b)(5) and states as follows.

        1.       Plaintiff filed his Complaint on November 13, 2019.

        2.       Plaintiff attempted service on Defendant by certified mail pursuant to Arkansas Rule

of Civil Procedure 4(g)(1).

        3.       Arkansas courts have consistently held that valid service of process is necessary

to give a court jurisdiction over a defendant, and have held that service requirements “must be

strictly construed and compliance with them must be exact.” Wilburn v. Keenan Companies,

Inc., 298 Ark. 461, 463, 768 S.W.2d 531, 532 (1989).

        4.       ARCP 4(g)(1)(A)(i), which governs service by certified mail, requires that “the

addressee . . . be a natural person specified by name[.]”

        5.       According to Plaintiff’s own admission in the Affidavit of Service filed with the
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Court, Plaintiff’s counsel sent the Summons and Complaint by certified mail addressed to Shelter

Mutual Insurance Company. Affidavit of Service, attached hereto as Exhibit A, at 1.

        6.       The certified mail was signed for by Christal Hansberry Smith, Id. Ms. Smith is a

claims assistant. Affidavit of Terry Martin, attached hereto as Exhibit B, ¶ 1.

        7.       Because the certified mail was sent to the Company, and not a natural person as

required by the Arkansas Rules of Civil Procedure, the attempted service on Defendant was

deficient under ARCP 4(g). Therefore, Plaintiff’s Complaint should be dismissed pursuant to

ARCP 12(b)(5).

        8.       This Motion is supported by a brief filed herewith and the following exhibits

attached hereto:

                 Exhibit A - Affidavit of Service
                 Exhibit B - Affidavit of Terry Martin

        9.       Based on the above and the accompanying brief in support, Defendant requests

that the Court grant its Motion to Dismiss for Insufficient Service of Process Pursuant to ARCP

12(b)(5).

        WHEREFORE, Defendant Shelter Mutual Insurance Company prays that this Court grant

 its Motion to Dismiss, for its costs, and for all other just and proper relief.




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                                     Respectfully submitted,

                                     Kevin Crass, AR Bar 84029
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                                     Rogers, Arkansas 72758
                                     Telephone: (479) 695-6049
                                     Email: kcampbell@fridayfirm.com

                                     By: /s/ Katherine C. Campbell
                                         Katherine C. Campbell




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                                     CERTIFICATE OF SERVICE

        I, Katherine C. Campbell, do hereby certify that the foregoing is being filed with the
Court and that the below listed persons will receive a copy of the foregoing via the Court’s eFlex
filing notification system, on this 16th day of December, 2019:


Bill G. Horton
Nolan, Caddell & Reynolds
211 N. 2nd St.
Rogers, AR 72756



                                                    _/s/ Katherine C. Campbell_____
                                                    Katherine C. Campbell




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              IN THE CIRCUIT COURT OF BENTON COUNTY, ARKANSAS
                                CIVIL DIVISION

SAYED ALI and All Others
Similarly Situated                                                                  PLAINTIFF

v.                                   CASE NO. 04 CV-2019-2802

SHELTER MUTUAL
INSURANCE COMPANY                                                                 DEFENDANT


            BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS FOR
                        INSUFFICIENT SERVICE OF PROCESS

        Shelter Mutual Insurance Company (“Defendant” or the “Company”), by and through its

attorneys, Friday, Eldredge & Clark, LLP, for its Brief in Support of its Motion to Dismiss for

Insufficient Service of Process Pursuant to Arkansas Rule of Civil Procedure (“ARCP”) 12(b)(5)

states as follows.

     I. INTRODUCTION

        Plaintiff filed his Complaint on November 13, 2019. According to the Affidavit of Service,

Plaintiff’s counsel “sent by certified mail a Summons and Complaint addressed to Shelter Mutual

Insurance Company[.]” Affidavit of Service, attached hereto as Exhibit A, at 1. The Affidavit of

Service states that the certified mail “was signed for by C. Hansberry Smith on November 18,

2019.” Id. Attached to the Affidavit of Service is a copy of the return receipt. It confirms that the

Complaint and Summons were addressed to Shelter Mutual Insurance Company and were signed by

C. Hansberry Smith on November 18, 2019. Id. at 3.

        Because the Summons and Complaint were sent to the Company, and not a natural

person as required by the Arkansas Rules of Civil Procedure, the attempted service on Defendant
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was deficient under ARCP 4(g)(1)(A)(i). Therefore, Plaintiff’s Complaint should be dismissed

pursuant to ARCP 12(b)(5).

    II.     LAW AND ARGUMENT

             a. Standard

          Under Arkansas law, service requirements under Rule 4 are to be strictly construed, and

compliance with them must be exact. See Smith v. Sidney Moncrief Pontiac, Buick, GMC Co.,

353 Ark. 701, 709, 120 S.W.3d 525, 530 (2003); see also Wilburn v. Keenan Co., 298 Ark. 461,

463, 768 S.W.2d 531, 532 (1989) (explaining that because statutory service requirements are in

derogation of common law rights, they must be strictly construed). Plaintiff has the burden of

proving that service upon Defendant was proper. See Dodd v. Highway Hauling Express Corp.,

2019 Ark. App. 123, 4, 572 S.W.3d 447, 450 (2019). If Defendant was improperly served, then

the case should be dismissed because the court lacks jurisdiction over Defendant. See id.

(“Arkansas law is long settled that service of valid process is necessary to give a court

jurisdiction over a defendant.”).

          When service is made by certified mail, it “shall be addressed to the person to be served

with a return receipt requested and delivery restricted to the addressee or the agent of the

addressee.” ARCP 4(g)(1)(A)(i). The Rule makes plain that “[t]he addressee must be a natural

person specified by name[.]” ARCP 4(g)(1)(A)(i).          When service by certified mail is not

restricted to a natural person, courts have held service to be invalid. See Grand Slam Stores,

L.L.C. v. L & P Builders, Inc., 92 Ark. App. 210, 212 S.W.3d 6 (2005). For example, in Grand

Slam Stores, the Arkansas Court of Appeals held that service was invalid where the Complaint

and Summons were addressed to a limited liability company rather than a natural person as
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required by ARCP 4. The Court explained that a natural person means a “human being.” 92

Ark. App. at 213, 212 S.W.3d at 8. “[B]ecause a limited liability company is clearly not a

‘natural person’ within the meaning of Ark. R. Civ. P. 4(d)(8), and the letter did not name any

human being as an addressee[,]” service was improper. Id.

            b. Because the Summons and Complaint Were Not Addressed to a Natural
               Person, Service Is Improper

        Here, the Summons and Complaint were served by certified mail addressed to Shelter

Mutual Insurance Company. The certified mail was not addressed to a natural person and

certainly was not restricted to an appropriate person authorized to accept service. By Plaintiff’s

own admission in the Affidavit of Service, no natural person was listed on the papers that were

served. Strict compliance with the requirements for service by mail is required, and Plaintiff

failed to follow the rules. Because Plaintiff failed to properly serve Defendant, the Court lacks

jurisdiction over Defendant. The Complaint therefore should be dismissed.

            c. Because the Individual Who Received the Summons and Complaint Was Not
               Authorized To Accept Service, Service Is Improper

        The fact that the certified mail was not addressed to a natural person is reason alone to

dismiss the Complaint. But in this case, the Summons and Complaint were not even received by

a person authorized to accept service.          Service on corporations may be made on the

corporation’s registered agent, an officer of the corporation, the officer’s secretary or assistant, a

managing or general agent of the corporation, the agent’s secretary or assistant, or any agent

authorized to receive service of process. ARCP 4(f)(5). Here, Christal Hansberry-Smith signed

for the certified mail package. Ex. A at 3. Ms. Smith is a claims assistant. See Affidavit of

Terry Martin (“Martin Aff.”), attached hereto as Exhibit B, ¶ 1. She is not part of management
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of the office in which she works and does not have discretion in running Defendant’s business.

Id. ¶¶ 2-3. She also is not a secretary to an officer, managing agent, or general agent of the

Company. Id. ¶ 4. She therefore is not authorized to accept service even if the Summons and

Complaint had been properly addressed. Moreover, the claims manager and several supervisors

were present at the Little Rock branch location on November 18, 2019, the day that Ms. Smith

signed for the documents. Id. ¶ 5. For this additional reason, the Complaint should be dismissed

for insufficient service of process.

    III.     CONCLUSION

           Because the Summons and Complaint were addressed to the Company, and not a natural

person as required by the Arkansas Rules of Civil Procedure, the attempted service on Defendant

was deficient under ARCP 4(g)(1)(A)(i). For the reasons set forth above, Defendant respectfully

requests that the Court dismiss Plaintiff’s Complaint pursuant to ARCP 12(b)(5) and award it any

other relief to which it may be entitled.



                                             Respectfully submitted,

                                             Kevin Crass, AR Bar 84029
                                             FRIDAY, ELDREDGE & CLARK LLP
                                             400 West Capitol Avenue, Suite 2000
                                             Little Rock, AR 72201
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                                             Facsimile: (501) 244-5389
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                                     Katherine C. Campbell, AR Bar 2013241
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                                     3350 S. Pinnacle Hills Parkway, Suite 301
                                     Rogers, Arkansas 72758
                                     Telephone: 479-695-6049
                                     Email: kcampbell@fridayfirm.com

                                     By: /s/ Katherine C. Campbell
                                         Katherine C. Campbell




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                                     CERTIFICATE OF SERVICE

        I, Katherine C. Campbell, do hereby certify that the foregoing is being filed with the
Court and that the below listed persons will receive a copy of the foregoing via the Court’s eFlex
filing notification system, on this 16th day of December, 2019:


Bill G. Horton
Nolan, Caddell & Reynolds
211 N. 2nd St.
Rogers, AR 72756



                                                    _/s/ Katherine C. Campbell_____
                                                    Katherine C. Campbell




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                IN THE CIRCUIT COURT OF BENTON, COUNTY, ARKANSAS
                                  CIVIL DIVISION

SAYED ALI and All Others
Similarly Situated                                                              PLAINTIFF

vs.                                    No. 04CV-19-2802

SHELTER MUTUAL INSURANCE COMPANY                                              DEFENDANT


                                     ENTRY OF APPEARANCE

        Comes now Kevin A. Crass of Friday, Eldredge & Clark, LLP, and hereby enters his

appearance on behalf of Defendant Shelter Mutual Insurance Company and requests that the

Clerk of the Court enter his name as an Attorney of Record in the above matter without delay,

and that he receive copies of any and all further notices, pleadings or correspondence in this

matter from this point forward.

                                           BY: /s/ Kevin A. Crass
                                               Kevin A. Crass, #84029
                                               Friday Eldredge & Clark LLP
                                               400 West Capitol Avenue, Suite 2000
                                               Little Rock, Arkansas 72201-3522
                                               (501) 370-1592 - Telephone
                                               (501) 244-5370 – Facsimile
                                               crass@fridayfirm.com - Email

                                                Attorneys for Defendant




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                                     CERTIFICATE OF SERVICE

        I, Kevin A. Crass, certify that on December 19, 2019, a copy of the foregoing has been
electronically filed with the Clerk of the Court using the CM/ECF system, which shall send
notification of such filing to the following:

Bill G. Horton
CADDELL REYNOLDS
211 N. 2nd Street
Rogers, Arkansas 72756


                                                   /s/ Kevin A. Crass
                                                   KEVIN A. CRASS




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    Case Title:             ALI ETAL V SHELTER MUTUAL INSURANCE
                            COMPANY
    Case Number:            04CV-19-2802

    Type:                   SUMMONS - FILER PREPARED



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                                                      Maria E Delgado, Benton County
                                                      Deputy Clerk


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              IN THE CIRCUIT COURT OF BENTON COUNTY, ARKANSAS
                                CIVIL DIVISION

SAYED ALI and
All Other Similarly Situated                                                        PLAINTIFF

V.                                       04CV-19-2802

SHELTER MUTUAL
INSURANCE COMPANY                                                                 DEFENDANT

                           DEFENDANT’S ANSWER TO COMPLAINT

         Defendant, Shelter Mutual Insurance Company (“Defendant” or “Shelter”), by and through

its attorneys, Friday, Eldredge & Clark, LLP, for its Answer to Plaintiff’s Complaint, states as

follows:

         1.      Defendant admits that Plaintiff has filed a class action complaint and seeks a

declaratory judgment that Defendant violated the law when it refused to issue certain payments to

customers without them disclosing their entitlement to Medicare and Medicaid benefits.

Defendant denies that Plaintiff or any proposed class members are entitled to the relief Plaintiff

seeks.

         2.      Defendant admits that Plaintiff seeks an Order requiring Defendant to pay

monetary restitution, plus pre-judgment and post-judgment interest.       Defendant denies that

Plaintiff is entitled to the relief he seeks.

         3.      Defendant admits that Plaintiff seeks injunctive relief. Defendant denies that

Plaintiff is entitled to the relief he seeks.




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                                       Jurisdiction and Venue

        4.       Defendant admits that Plaintiff requested a copy of the policy. Defendant further

admits that a copy of the automobile policy declaration and policy schedule and the automobile

insurance policy were provided to Plaintiff’s counsel. Defendant affirmatively states that the terms

of the policy speak for themselves. Defendant is without information sufficient to admit or deny

the remaining allegations in paragraph 4 of the Complaint.

        5.       Defendant admits that the Court has personal jurisdiction over Defendant.

        6.       Defendant denies the allegations in paragraph 6 of the Complaint.

        7.       Defendant denies that jurisdiction is proper in this Court.

        8.       Defendant denies that venue is proper in this Court.

                                    Common Factual Background

        9.       Defendant admits that it is a multi-line national property and casualty insurance

company that operates across the United States.

        10.      Defendant admits that Plaintiff was covered under a contract of automobile

insurance with Defendant that included medical payment and/or PIP coverage.

        11.      Defendant admits that on or about January 12, 2019, Plaintiff was in a motor

vehicle accident, he reported bodily injury as a result, and that he purported to have received

medical treatment exceeding $5,000.

        12.      Defendant admits that on or about September 19, 2019, Plaintiff sent Defendant a

letter by facsimile demanding payment of his med pay benefits. Defendant affirmatively states

that the letter purported to attach itemized medical bills, but no such bills were received. Defendant

further admits that it requested information related to Plaintiff’s Medicare coverage. Defendant

denies all remaining allegations in paragraph 12 of the Complaint.



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        13.      Defendant affirmatively states that the terms of Defendant’s contracts of insurance

speak for themselves.

        14.      Defendant affirmatively states that Ark. Code Ann. §§ 23-89-204(a) and 23-89-

208 speak for themselves. Defendant denies the remaining allegations in paragraph 14 of the

Complaint.

        15.      Defendant denies the allegations in paragraph 15 of the Complaint.

                                    Common Controlling Law

        16.      The allegations in paragraph 16 of the Complaint contain legal conclusions to

which no response is required.       Defendant affirmatively states that its policies speak for

themselves.

        17.      The allegations in paragraph 17 of the Complaint contain legal conclusions to

which no response is required. Defendant affirmatively states that Ark. Code Ann. § 23-89-202

and Aetna Ins. Co. v. Smith, 263 Ark. 849, 568 S.W.2d 11 (1978) speak for themselves.

        18.      The allegations in paragraph 18 of the Complaint contain legal conclusions to

which no response is required. Defendant affirmatively states that Ark. Code Ann. §§ 23-89-202

and 23-89-204 speak for themselves.

        19.      The allegations in paragraph 19 of the Complaint contain legal conclusions to

which no response is required. Defendant affirmatively states that Ark. Code Ann. § 23-89-208

speaks for itself.

                                     Class Action Allegations

        20.      Defendant admits that Plaintiff brings this action on his own behalf and on behalf

of proposed class members. Defendant denies that class certification is proper.




                                                 3
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          21.    Defendant denies the allegations in paragraph 21 of the Complaint. Defendant

affirmatively states that Ark. Rule Civ. P. 23 speaks for itself.

          22.    Notwithstanding the fact that paragraph 22 of the Complaint does not contain any

allegation to which Defendant is required to respond, Defendant denies that class certification is

proper.

          23.    Notwithstanding the fact that paragraph 23 of the Complaint does not contain any

allegation to which Defendant is required to respond, Defendant denies the same.

          24.    Notwithstanding the fact that paragraph 24 of the Complaint does not contain any

allegation to which Defendant is required to respond, Defendant denies the same.

          25.    Defendant denies the allegations in paragraph 25 of the Complaint and specifically

denies that class certification is proper.

          26.    Defendant denies the allegations in paragraph 26 of the Complaint, including sub-

part (a).

          27.    Defendant denies the allegations in paragraph 27 of the Complaint.

          28.    Defendant is without knowledge or information sufficient to admit or deny the

allegations in paragraph 28 of the Complaint. To the extent a response is required, they are denied.

          29.    Defendant denies the allegations in paragraph 29 of the Complaint.

          30.    Defendant admits that Plaintiff seeks, on behalf of himself and the proposed class

members, (i) a declaratory judgment, (ii) monetary damages, and (iii) injunctive relief. Defendant

denies that Plaintiff or the proposed class members are entitled to the relief Plaintiff seeks.

                                          Cause of Action I
                                        Declaratory Judgment

          31.    Defendant incorporates herein its responses to the above-numbered paragraphs, as

if stated again word-for-word.


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        32.      The allegations in paragraph 32 of the Complaint contain legal conclusions to

which no response is required. To the extent a response is required, they are denied. Defendant

affirmatively states that Ark. Code Ann. §§ 16-111-101, et seq. speaks for itself.

        33.      Defendant admits that Plaintiff was covered under a contract of insurance with

Defendant. The remaining allegations in paragraph 33 of the Complaint contain legal conclusions

to which no response is required.

        34.      The allegations in paragraph 34 of the Complaint contain legal conclusions to

which no response is required. To the extent a response is required, they are denied. Defendant

affirmatively states that Ark. Code Ann. §§ 23-89-208, et seq. speaks for itself.

        35.      Defendant denies the allegations in paragraph 35 of the Complaint.

        36.      Defendant denies the allegations in paragraph 36 of the Complaint.

        37.      Defendant denies the allegations in paragraph 37 of the Complaint.

        38.      Defendant denies the allegations in paragraph 38 of the Complaint.

                                        Cause of Action II
                                        Breach of Contract

        39.      Defendant incorporates herein its responses to the above-numbered paragraphs, as

if stated again word-for-word.

        40.      Defendant denies the allegations in paragraph 40 of the Complaint.

        41.      The allegations in paragraph 41 of the Complaint contain legal conclusions to

which no response is required. To the extent a response is required, they are denied.

        42.      Defendant denies the allegations in paragraph 42 of the Complaint.

        43.      Defendant denies the allegations in paragraph 43 of the Complaint.




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        44.      Defendant denies the allegations contained in Plaintiff’s “WHEREFORE”

paragraph, including sub-paragraphs (a) through (f). Defendant denies that Plaintiff, or the

proposed class members, are entitled to the relief Plaintiff seeks or to any relief whatsoever.

        45.      Defendant also requests a trial by jury.

        46.      Defendant denies each and every allegation in the Complaint not specifically

admitted herein. Defendant denies that Plaintiff is entitled to any relief at all. Upon completion

of further investigation and discovery, Defendant expressly reserves the right to plead further

including, but not limited to, the reservation of all affirmative defenses required to be pled in its

initial pleadings and/or the assertion of a counterclaim or third party complaint.

                                    AFFIRMATIVE DEFENSES

        Without assuming any burden of proof that it would not otherwise bear, and reserving the

right to amend its Answer to assert additional defenses as they may become known during

discovery, Defendant asserts the following defenses and/or affirmative defenses:

        1.       Plaintiff’s claims and/or those of some or all of the putative class members should

be dismissed for failure to state a claim upon which relief can be granted pursuant to Rule 12(b)(6)

of the Arkansas Rules of Civil Procedure.

        2.       Plaintiff’s claims and/or those of some or all of the putative class members are

barred in whole or in part by the applicable statute(s) of limitations.

        3.       Plaintiff’s claims and/or those of some or all of the putative class members are

barred to the extent Plaintiff failed to satisfy the conditions precedent.

        4.       Plaintiff’s claims and/or those of some or all of the putative class members are

barred by the doctrines of waiver, laches, unclean hands, and/or estoppel.




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        5.       Plaintiff failed to sufficiently describe or attach a copy of the document(s) giving

rise to Plaintiff’’ claim for breach of contract, and likewise failed to establish the specific

provision(s) upon which its individual and/or putative class claims are purportedly based. See Ark.

R. Civ. P. 10 (d).

        6.       Plaintiff’s claims, and the claims of all or a portion of the putative class, are or may

be barred to the extent Plaintiff or any member of the putative class are not in privity of contract

with Shelter.

        7.       Plaintiff’s claims and/or those of some or all of the putative class members are

barred by their own breaches.

        8.       Defendant affirmatively asserts that to the extent Plaintiff and/or any putative class

member suffered any damages at all, those damages were caused by persons and entities other than

Shelter.

        9.       Plaintiff’s claims and/or those of some or all of the putative class members are

barred, in whole or in part, for any failure to mitigate damages.

        10.      Plaintiff cannot satisfy the requirements for class certification, including the

requirements of Ark. R. Civ. P. 23 and any other requirements implied by law for myriad reasons,

including without limitation, because of the lack of a predominance of common issues and because

individualized determinations would be necessary to adjudicate the claims of each and every

putative class member.

        11.      Defendant affirmatively states that the adjudication of the claims of the class

through purported class-wide proof violates Defendant’s right to due process of law and right to

trial by jury guaranteed by the United States and Arkansas Constitutions.




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        12.      Defendant affirmatively states that venue and jurisdiction are not proper. Venue

and jurisdiction are proper in the United States District Court for the Western District of Arkansas

pursuant to (i) 28 U.S.C. §§ 1441 and 1446 and (ii) the Class Action Fairness Act of 2005

(“CAFA”), codified in pertinent part at 28 U.S.C. §§ 1332(d) and 1453.

        13.      Defendant respectfully reserves the right to supplement its Answer and Affirmative

Defenses to assert other lawful defenses application to this action. Defendant reserves the right to

plead further and reserves objections on the basis of lack of subject-matter jurisdiction, lack of

personal jurisdiction, improper venue, insufficient process, insufficient service of process, failure

to state a claim upon which relief can be granted, and failure to join a party under Rule 19,

pendency of another action between the same parties arising out of the same transaction or

occurrence, and the affirmative defenses listed in Rule 8, including, but not limited to, according

and satisfaction, arbitration and award, exclusiveness of remedy under workers’ compensation

law, contributory negligence, duress, estoppel, failure of consideration, fraud, illegality, injury by

fellow servant, laches, license, payment, release, res judicata, statute of frauds, statute of

limitations, waiver, and any other matter constituting an avoidance or affirmative defense.

        WHEREFORE, Defendant, Shelter Mutual Insurance Company, respectfully requests that

Plaintiff’s Class Action Complaint be dismissed and for all other just and proper relief to which it

may be entitled.




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                                             Respectfully submitted,

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                                             By: /s/ Katherine C. Campbell
                                                 Katherine C. Campbell

                                             Attorneys for Defendant Shelter Mutual Insurance
                                             Company




                                    CERTIFICATE OF SERVICE

        I, Katherine C. Campbell, hereby certify that a copy of the foregoing is being filed
electronically with the Court’s eFlex filing system and that a copy of same will be provided to the
following counsel of record via the Court’s electronic filing notification system on or about this
13th day of February, 2020:

        Bill Horton
        Caddell & Reynolds, PA
        211 North 2nd Street
        Rogers, AR 72756


                                                    /s/ Katherine C. Campbell
                                                    Katherine C. Campbell




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